               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Case No. 20-CV-954

FARHAD AZIMA,

       Plaintiff,
                                             RESPONSE OF PLAINTIFF
       v.                                       FARHAD AZIMA TO
                                             DEFENDANTS’ MOTION TO
NICHOLAS DEL ROSSO and VITAL                         SEAL
MANAGEMENT SERVICES, INC.,

       Defendants.


      Plaintiff Farhad Azima (“Azima”) submits this brief in response and

opposition to the Motion of Defendants Vital Management Services, Inc.

(“Vital”) and Nicholas Del Rosso (collectively, “Defendants”) to Seal Exhibit H

to Defendants’ Motion for Protective Order. See ECF Nos. 218, 219.

                              INTRODUCTION

      In their Motion to Seal, Defendants contend that the redacted portions

of Exhibit H involve “sensitive and confidential” information that should be

treated as confidential under the protective order entered by the Court. See

ECF No. 218 at 1-2. Azima submits that Defendants’ attempt to seal

information from his deposition is instead another effort to overdesignate all

information related to the facts of the case as confidential.

      The protective order entered in this case requires a party to have a good

faith belief that information designated as confidential “contains trade,




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secrets, confidential research or development, confidential commercial

information,   confidential      financial   information,   confidential   health

information, information treated as confidential by third parties, [or] other

personal or private information whose disclosure would result in annoyance,

embarrassment, oppression, or undue burden.” See ECF No. 101, 101-1. Many

of Defendants’ confidentiality designations in the deposition in Exhibit H are

facially invalid. For example:

      • There are at least 50 instances for which Defendants seek

         confidentiality designations in which Mr. Del Rosso did not know the

         answer to the question asked.

      • There are at least 25 instances for which Defendants seek

         confidentiality designations where Mr. Del Rosso’s answer was

         merely a denial.

      • There are at least 15 instances for which Defendants seek

         confidentiality designations where counsel designated as confidential

         questions that they instructed Mr. Del Rosso not to answer. These

         questions, where Del Rosso was instructed to provide no information

         at all, do not include confidential information.

      • There are six instances for which Defendants seek confidentiality

         designations about facts that are already public, either because they

         were the subject of Mr. Del Rosso’s public testimony in the UK case




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         or because they were subject to Defendants’ publicly filed Answer (or

         both).

      The above designations are merely some of the broad categories of

information counsel for Defendants designated as confidential that are facially

improper for designation. There can be no legitimate basis for designating

information confidential that Del Rosso does not know, denies, was instructed

not to answer, or has previously testified to publicly. Defendants’ approach is

both inappropriate and a significant waste of judicial resources, as it

necessitates additional involvement of the Court on non-substantive matters

and creates further unnecessary delay in this case. The Court should therefore

deny Defendants’ Motion to Seal Exhibit H.

      This, the 10th day of May, 2023.

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                    CERTIFICATE OF WORD COUNT

      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This Response brief contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.


                                /s/ Ripley Rand
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                                Counsel for Plaintiff




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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      CASE NO. 20-CV-954

FARHAD AZIMA,

       Plaintiff,

       v.
                                            CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and
VITAL MANAGEMENT SERVICES,
INC.,

       Defendants.

      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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This, the 10th day of May, 2023.

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